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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                             EASTERN DIVISION

MARK GRAMS,                )
an individual Alabama citizen,
                           )
                           )
     Plaintiff,            )
                           )
                             Civil Action No.: 3:23-CV-________
v.                         )
                           )
TREIS BLOCKCHAIN, LLC,     )
CHAIN ENTERPRISES, LLC,    )
                             JURY TRIAL DEMANDED
CEVON TECHNOLOGIES, LLC,   )
STRONGHOLD DIGITAL MINING, )
LLC, DAVID PENCE, MICHAEL  )
BOLICK, SENTER SMITH,      )
BRIAN LAMBRETTI, AND       )
JOHN CHAIN,                )
                           )
     Defendants.           )

                                  COMPLAINT

      Plaintiff Mark Grams, by and through undersigned counsel, states for his

Complaint and Jury Demand as follows:

                                INTRODUCTION

      1.     In December of 2021 Defendant Treis Blockchain, LLC sold one

thousand computers to Defendant Stronghold Digital Mining LLC for several

million dollars.

      2.     The value of the computers lay not in their hardware but their firmware.
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      3.     The computers were specialized machines that function to mine

cryptocurrency in cyberspace.

      4.     As detailed within, the computers operate on firmware that boosts them

to run faster than virtually any competitor in the world—critical for machines that

race to profit by finding and mining cryptocurrency.

      5.     The problem with the sale is that Treis knew it did not own the

firmware, had no right to sell it, and was, in fact, responsible for maintaining its

secrecy.

                                      PARTIES

      6.     Plaintiff Mark Grams is a resident citizen of the State of Alabama,

residing at all times material hereto in Alexander City, Tallapoosa County, Alabama.

      7.     Defendant Treis Blockchain, LLC (“Treis”) is a limited liability

company formed under the laws of the State of South Carolina. Treis resides at 601

Hitech Court, Greer, South Carolina, 29650.            Treis’s membership includes

Defendants Bolick, Lambretti, Pence, and Smith. As set forth below, Treis’s

members are all foreign citizens; therefore, Treis is also a foreign citizen.

      8.     Defendant Chain Enterprises, LLC (“CEL”) is a limited liability

company formed under the laws of the State of Nevada. CEL resides at 3900 S.

Hualapai, Suite 110, Las Vegas, Nevada 89147. On information and belief, CEL’s




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sole member is Defendant Chain. As set forth below, Chain is a citizen of the South

Dakota; therefore, CEL is also a foreign citizen.

      9.     Defendant Cevon Technologies, LLC (“Cevon”) is limited liability

company formed under the laws of the State of Delaware. Cevon resides at 850 New

Burton Road Suite 201, Dover, Delaware 19904. On information and belief,

Cevon’s sole members are Treis and CEL, both of which, as set forth above, are

foreign citizens; therefore, Cevon is also a foreign citizen.

      10.    Defendant Stronghold Digital Mining LLC (“Stronghold”) is a limited

liability company formed under the laws of the State of Delaware. Stronghold

resides at 2151 Lisbon Road, Kennerdell, Pennsylvania 16374. On information and

belief, Cevon’s parent member is Q Power, Inc. Q Power, Inc. resides in Parainen,

Finland. Stronghold appears to be a publicly traded entity.

      11.    Defendant Michael Bolick is a resident citizen of the State of South

Carolina. On information and belief, Bolick is a member of Treis and a Treis

Blockchain Manager for Cevon.

      12.    Defendant Senter Smith is a resident citizen of the State of South

Carolina. On information and belief, Smith is a member of Treis and a Treis

Blockchain Manager for Cevon.




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      13.   Defendant John Chain is a resident citizen of the State of South Dakota.

On information and belief, Chain is sole member of CEL and a Chain Enterprises

Manager for Cevon.

      14.   Defendant Brian Lambretti is an individual citizen of the State of South

Carolina. On information and belief, Lambretti is a member of Treis.

      15.   Defendant David Pence is an individual who resides in the State of

South Carolina. On information and belief, Pence is a member of Treis.

                         JURISDICTION AND VENUE

      16.   This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1331 because Plaintiff brings this action under 18 U.S.C. § 1836, 18

U.S.C. § 1964, and 18 U.S.C. § 1962(c).        Subject matter jurisdiction is also

predicated on 28 U.S.C. § 1332 because there exists complete diversity between the

parties, and the amount in controversy exceeds $75,000.00, exclusive of interest and

costs. This Court has subject matter jurisdiction over Plaintiff’s state-law claims

pursuant to 18 U.S.C. § 1367(a).

      17.   Venue is appropriate in this judicial district under 28 U.S.C. §

1391(b)(2) because a substantial part of the events or omissions giving rise to this

claim occurred in Tallapoosa County, Alabama, which is located in the Eastern

Division of the Middle District of Alabama, 28 U.S.C. 81(b)(3), or, alternatively,




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pursuant to 28 U.S.C. 1391(b)(3) because all Defendants are subject to this Court’s

personal jurisdiction.

                             FACTUAL ALLEGATIONS

I.     Cryptocurrency and how anyone can “mine” for it1

       18.    Cryptocurrency is intangible digital currency.

       19.    Transactions applying the currency are recorded and verified in a

decentralized system using cryptography.

       20.    The first digital currency was Bitcoin, which launched in 2009.

       21.    Since then, Bitcoin alternatives, referred to as “altcoin,” have exploded

onto the market, including Ethereum, Tether, USD Coin, Binance Coin, XRP,

Binance USD, and Cardano.

       22.    There are approximately 18,000 variants of cryptocurrency available.

       23.    There are three ways to acquire cryptocurrency:

              a.     Purchase cryptocurrency on an exchange market;

              b.     Accept cryptocurrency as compensation in a transaction;

              c.     “Mine” for it—like gold

       24.    This case involves machines that mine for cryptocurrency.



       1
       Information for this background section was assembled from internet sources, including:
www.simplilearn.com/bitcoin-mining-explained-article,
www.crunchbase.com/organization/whatsminer,
www.investopedia.com/terms/a/asic.asp#:~:text


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      25.    For a mining transaction to be recorded on the ledger it must be

validated by solving a complicated mathematical puzzle called a proof of work.

      26.    Crytocurrency “miners” perform this function, manifesting new digital

“coins” which can then be used in their exchange market.

      27.    Mining is as mentally taxing as goldmining was physically taxing—it

requires advanced machines with high computing power applied to solve

complicated mathematical equations.

      28.    Computers have entered the market whose sole purpose is to mine for

cryptocurrency—they are called “miners.”

      29.    The faster the miners can operate the more lucrative they will be.

      30.    The instructions that tell the computer how to mine are called firmware.

      31.    Whereas software programs are user-facing and interactive, firmware

tells the machine itself how to operate.

      32.    Firmware in this context does not interact with a user; it tells a machine

how to mine for cryptocurrency.

      33.    The firmware may be stored on an application-specific integrated

circuit (ASIC) chip that is integrated into the machine’s hardware.

      34.    Each ASIC chip functions to mine a specific digital currency.

      35.    Miners that use ASIC chips are referred to as “ASIC miners.”




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        36.   A leading manufacturer of ASIC miners sells them under the brand

name Whatsminer.

        37.   “Whatsminers” are some of the most cost effective and efficient

machines on the market.

        38.   Plaintiff Mark Grams figured out how to make them better.

II.     Plaintiff Grams creates firmware to optimize the industry leading
        “Whatsminers”—making them faster, more efficient, and more lucrative

        39.   Grams is old school—his father was a computer engineer back in the

70s, took him underwing, and Grams grew up obsessed with tinkering with

computers and other electronic devices.

        40.   He had a knack for it, reverse-engineering machines as they came onto

the market and figuring out ways to make them run faster and perform better.

        41.   In 2017, Grams learned about cryptocurrency and began pioneering

code to optimize miners.

        42.   Just two years later he sold his first firmware code optimization

(“FCO”). 2

        43.   His 2019 FCO improved the Antminer S17 Series machines.

        44.   He sold the 2019 FCO to Immersion Systems, LLC for $30,000.




2
 Source code can be written to optimize firmware to perform functions beyond those publicly
known and available—such code optimizations are proprietary trade secrets.


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      45.    Brokering the deal between Immersion Systems and Grams was

Defendant John Chain.

      46.    Grams went on to pioneer code to optimize the industry leading

Whatsminers—his MicroBT Whatsminer Asic Miner FCO (“WAO”).

      47.    Whereas the firmware sold to Immersion Systems, LLC covered only

one model of software, WAO covers about one hundred.

      48.    In February of 2020, Chain learned that Grams had succeeded and

asked if he could help Grams monetize WAO.

      49.    Monetizing firmware can take many forms.

      50.    Users can pay a fee up-front for a license to use the firmware, or they

can agree the developer will retain a percentage of the cryptocurrency as it is mined,

referred to as a “developer fee,” or “Dev Fee” for short.

      51.    Grams recognized that he himself was a tech guy with little business or

marketing acumen.

      52.    Grams agreed Chain could try to find companies interested in using

WAO and that he would pay Chain fifty percent of any new contracts Chain could

procure.

      53.    Grams also pursued opportunities independently, including with Vnish

Mining Software Company.




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III.     Chain Mishandles the First Deal

         54.   In the Spring of 2020, Chain tried to market WAO to Asic.World.

         55.   Chain mishandled the negotiations, failed to protect the intellectual

property, and Asic.World stole WAO the day of its scheduled public release.

         56.   Asic.World never paid Grams or Chain anything—they did not acquire

a license to use WAO, and they never paid any developer fees.

         57.   Once firmware has been published, its value diminishes significantly.

         58.   Potential purchasers know that at least one other competitor is using the

firmware and that there is no longer any way to prevent public dissemination.

         59.   Chain promised Grams he would retain counsel to pursue legal claims

against Asic.World but never followed through.

         60.   Meanwhile, Grams was forced to spend significant time re-engineering

WAO so that he could market an uncompromised product.

         61.   Grams designed his second version of the firmware, WAO2.

IV.      Grams agrees to let Treis test out WAO2

         62.   During discussions with Asic.World, Chain had also been negotiating

with Defendant Treis, who wanted to install WAO on their Whatsminers.

         63.   Initially, Treis had agreed to pay a five percent Developer Fee to install

WAO on 400 of their machines to test out WAO’s efficacy.




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      64.    When Treis learned WAO had been compromised they agreed to use

WAO2.

      65.    However, they demanded the Dev Fee be reduced to 3%.

      66.    In summer of 2020 Treis’s testing phase initiated.

      67.    Over the following eighteen months, Grams spent thousands of

uncompensated hours customizing WAO2 to suit Treis’s goals.

      68.    In fall of 2020 Treis, apparently satisfied with Grams’s progress, began

negotiating with Chain to purchase WAO2 outright.

      69.    WAO2, which had optimized the best machine on the market, was

valued between seven and eight figures.

      70.    According to Treis’s directors, Chain tricked them into believing his

entity, Chain Enterprises, LLC (“CEL”), owned the firmware and Grams was a mere

employee.

      71.    Not one of them asked Grams whether this was the case.

      72.    Instead, Treis offered to buy WAO2 from CEL for $100.

      73.    The deal was funneled through a subsidiary created for the purpose,

Cevon Technologies, LLC (“Cevon”).

      74.    Cevon is owned 50% by Treis and 50% by CEL.

      75.    According to Cevon’s Limited Liability Company Agreement, Treis’s

initial capital contribution was $100.


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         76.   And CEL’s initial capital contribution was “all intellectual property that

it owns or exclusively licenses related to firmware and dual phase immersion cooling

systems for crypto-currency and blockchain applications.”

         77.   In other words, CEL promised to contribute all intellectual property it

owned, which was none.

         78.   And Treis promised to contribute $100, which is also, essentially,

nothing.

         79.   Whether Treis knew or should have known that neither Chain nor CEL

owned WAO2, or that WAO2’s developer Grams had never been Chain’s employee,

or that no one would sell the world’s fastest cryptocurrency mining firmware

for $100, is worthy of consideration.

         80.   But regardless, as set forth below, it is beyond dispute that by April of

2021, Treis knew that Chain had never owned WAO or WAO2 and that Grams was

the developer and sole owner.

V.       Treis learns it bought nothing—for $100

         81.   Throughout 2020, Grams had been focused on customizing WAO2 for

Treis.

         82.   He worked tirelessly on the customization because the more Trei’s

machines mined, the more he would collect, through his Dev Fee.




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      83.      However, Grams became increasingly concerned that he was not

receiving any substantial Dev Fees, which was his only form of compensation.

      84.      It began to dawn on Grams that the business guys may be trying to

shoulder him out of the profits.

      85.      On information and belief, Chain and Treis were making hundreds of

thousands of dollars in cryptocurrency value using WAO2, while Grams received

only $4,300.

      86.      In April 2021 Grams announced that he was not comfortable with the

way things were being handled.

      87.      He told Treis that he suspected Chain was in breach of their agreement

and that he would no longer be working with Chain.

      88.      Grams told Chain that he was redirecting the Dev Fees to an account

under Grams’s sole management.

      89.      And he informed Treis that if they wanted to continue using WAO2

they had three options:

               a.    Maintain the status quo: continue using WAO2 on Treis’s

                     internal machines only subject to the 3% development fee; or

               b.    Purchase WAO2 outright and own the exclusive right to use it

                     for $1,000,000; or

               c.    Remove WAO2 from all their machines.


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      90.    Treis chose to stay the course and continue paying the Dev Fee.

      91.    In turn, Grams continued customizing WAO2 for Treis.

      92.    In the fall of 2021 Grams offered to sell Treis a license to include

WAO2 on machines they would sell to third parties.

      93.    Treis declined the offer.

VI.   The Franking Project

      94.    Grams continued to respond to Treis’s requests for improvements to

the mining project.

      95.    Treis encountered a physical problem with its miners’ use of WAO2.

      96.    Grams developed a two-part mechanical solution:

             a.       He designed an insert to divert the airflow on air cooled miners;

             b.       He removed the miner’s middle board.

      97.    Grams’s solution boosted the miners to faster speeds by diverting

more power to their remaining boards.

      98.    At Treis’s request, Grams shared the design for this workaround with

Treis’s metal sheet fabricator.

      99.    Working from Gram’s designs Treis then made cosmetic changes and

patented it as their own without Grams’s knowledge or consent.




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VII. Protecting the secrecy of the firmware’s code

      100. Throughout the process, Grams had been working primarily from his

heavily-secured personal site in Alabama.

      101. However, Treis’s machines, operating on WAO2, were housed in

Pennsylvania and South Carolina.

      102. When developing and using proprietary software it is critical to protect

the integrity of the code.

      103. After firmware is in final version it can be encrypted, but not during a

testing phase in which it is constantly undergoing updates.

      104. Accordingly, Grams insisted and Treis agreed that all devices using

WAO2 would be password protected, locked, and otherwise secured.

      105. Grams himself keeps all copies of WAO2 only on password-protected

devices, with a camera system recording all access, on private property.

      106. He requested that Treis similarly install cameras at all entry points to

record anyone accessing the miners.

      107. In September 2021, Grams traveled to the Scrubgrass Power Plant to

service machines Treis was storing there.

      108. Grams was shocked to learn there was no security whatsoever

safeguarding the firmware.

      109. WAO2 was installed on computers that had no passwords.


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      110. The computers were stored in containers that had no locks on them.

The containers were located on a publicly accessible site.

      111. In sum, anyone could simply walk up to one of the containers, open

Treis’s computers, and steal Grams’s WAO2.

      112. Grams alerted Treis to the situation and accepted their confirmations

the security issues would be immediately remedied.

VIII. Treis v. Chain

      113. In November of 2021, Treis sued Chain and CEL for falsely

representing that Chain owned WAO2 in Treis Blockchain, LLC v. John Chain and

Chain Enterprises, LLC, 2021-0764-PAF, Delaware Chancey Court.

      114. Chain and CEL countersued Treis for selling machines containing

WAO2 in circumvention of Cevon’s purported rights.

      115. Nobody named Grams, the actual owner of the code, as a party.

IX.   Treis tricks Grams into customizing WAO2 to meet Treis’s undisclosed
      buyer’s demands

      116. Throughout Grams’s time working with Chain and Treis, WAO2 was

completely unique:

             a.      It was the world’s only firmware product for air-cooled miners;

             b.      It was the world’s best firmware for immersion-cooled miners.

      117. However, Treis kept pushing for WAO2 to be faster and more efficient.




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      118. To keep up with Treis’s demands, Grams was coding improvements to

WAO2 and the machines ten to fourteen hours a day, seven days a week, for no

direct compensation.

      119. In early 2022, Treis insisted that at least 1000 of its Whatsminers,

through     WAO2,      needed   to   reach     sixty    trillion   hashes   per   second

(60,000,000,000,000 hashes per second or “60PH”)—a rate unprecedented in the

industry.

      120. Grams believed Treis wanted WAO2 optimized to better mine for

cryptocurrency, that he would receive his development fee for what was mined, and

thereby his efforts would ultimately benefit him.

      121. In reality, Treis was in undisclosed negotiations with Defendant

Stronghold, to sell Whatsminers with WAO2 installed, even though Treis had no

ownership or licensing rights to do so.

      122. In no version of these multiple layers of fraud did Treis ever believe it

owned WAO2:

             a.     Treis had offered to pay a 5% Dev Fee in exchange for a

                    nonexclusive license to use WAO internally;

             b.     Treis agreed to pay a 3% Dev fee in exchange for a nonexclusive

                    license to use WAO2 internally;




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             c.     Cevon (not Treis) had purportedly acquired WAO2 from Chain

                    during Cevon’s formation.

       123. Eight months before the Stronghold deal Treis reaffirmed to Grams its

contract for a nonexclusive license to use WAO2 subject to the Dev Fee.

       124. The speed which could be achieved only through WAO2’s optimization

was a material condition of Stronghold’s offer—without WAO2 Stronghold could

have simply bought machines directly from Whatsminer.

       125. In order to seal the deal with Stronghold, Treis (through Grams) had to

achieve 60PH.

       126. On information and belief Treis also had to fraudulently warrant it

owned WAO2, or at least a license for Stronghold to use it.

       127. In short, Treis had Grams working round the clock to so they could

steal from him.

X.     Grams discovers Treis stole WAO2 and sold it to Stronghold.

       128. In January 2022 Grams continued to work remotely on the miners.

But in late January, he was confused to learn that his access had been blocked to

most of the machines.

       129. Treis’s Managing Director, Brian Lambretti, told Grams he would work

to “fix” the access issue.




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        130. Lambretti told Grams he would return to Pennsylvania on February 6,

2022.

        131. In the meantime, Lambretti directed Grams to work on optimizing the

few machines Grams could access.

        132. Grams did so and got the machines to achieve 60PH.

        133. On February 7, 2022, Lambretti called Grams and told him the

machines had been sold.

        134. Lambretti falsely assured Grams that WAO2 had been removed from

the machines prior to sale.

        135. Over the ensuing months, Grams had no access to the machines.

        136. But he occasionally received odd reports from his Dev Fee account.

        137. The reports suggested the miners were connecting for brief periods and

then disconnecting.

        138. In the winter of 2022, Grams reached out directly to Stronghold and

learned Treis had sold the machines without removing WAO2.

        139. It was clear Stronghold was using WAO2.

        140. It was also clear Treis had implicly or explicitly led Stronghold to

believe it had the right to use the machines with WAO2.

        141. Meanwhile, Grams realized his Dev Fee was being blocked.

Grams confronted Treis.


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      142. A scurry of conference calls and emails were exchanged between

Stronghold, Treis, each entity’s legal counsel, and Grams.

      143. Throughout, Treis claimed they owned WAO2 and accused Grams of

somehow stealing from them.

      144. Treis’s members disparaged Grams in front of Stronghold, an important

industry leader who could have been a potential client for Grams, encouraged

Stronghold to continue using WAO2 without paying Grams’s development fee, and

thoroughly discredited Grams in his field, all to ensure they didn’t have to turn over

the yield from their misappropriation.

      145. Stronghold continued to use WAO2.

      146. On      information    and    belief,   Stronghold    mined       substantial

cryptocurrency using WAO2 even after they learned it had been misappropriated.

      147. On information and belief, Stronghold blocked Grams’s Dev Fee owed

for the currency mined.

      148. Stronghold refused to reimburse Grams for the Dev Fees they blocked

or to otherwise compensate him for their use of his intellectual property.

XI.   Treis’s Owners Conspired to Commit Theft of Trade Secrets

      149. On information and belief, Treis is a closely-held entity both owned and

controlled by its four Managing Directors.




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      150. On information and belief, Treis continues to use WAO2 on its internal

machines yet is blocking Grams’s Dev Fee.

      151. There are scant operational costs for Treis’s use of WAO2—they

simply let the machines run, collect the mined crytocurrency, and pass it through

directly to the Managing Directors.

      152. If they are not using WAO2, on information and belief they have

reverse engineered it and are using their own pirated version to avoid the Dev Fee.

      153. It is now clear that when Treis’s Managing Directors learned Chain did

not own WAO2 they resolved to continue as if they did—even cutting Cevon out of

their dealings.

      154. The Managers resolved that if they had not bought WAO2 from CEL,

they would simply steal it from Grams.

      155. Their decision profited each of them personally as Treis is a closely

held entity.

      156. The members of Treis—Managing Directors David Pence, Michael

Bolick, Senter Smith, and Lambretti—conspired to bury the truth that Grams was

the sole developer of WAO2 and that they had no right to use or sell it.

      157. Throughout winter of 2022 Treis and Pence, in cooperation with the

other Managing Directors, then falsely represented to third party buyers that Treis

had the right to sell Whatsminer machines optimized by WAO2.


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      158. All Treis’s Managing Directors knew that Grams believed he was

optimizing WAO2 for Treis’s use only and not one of them stepped forward to

caution Grams about the deal with Stronghold.

      159. Every deal the Managing Directors formed and every machine Treis

delivered armed by WAO2 was a separate theft of Grams’s intellectual property.

                             COUNT I
             WILLFUL AND WANTON MISAPPROPRIATION
                   PURSUANT TO 18 U.S.C. § 1836
                     (Defendants Chain and CEL)
      160. Plaintiff incorporates and realleges paragraphs 18 through 159 as if the

same were set forth fully herein.

      161. Plaintiff brings this claim against Defendants Chain and CEL.

      162. Plaintiff created and owns the WAO2 Source Code.

      163. WAO2 contains numerous trade secrets.

      164. WAO2 is related to a product or service intended to be used in interstate

and foreign commerce.

      165. Defendants Chain and CEL purported to deliver, send, or convey

WAO2 to Cevon and/or Treis without authorization.

      166. Defendants Chain and CEL stole and/or without authorization

appropriated, took, or carried away WAO2.

      167. Defendants Chain and CEL obtained WAO2 by fraud, artifice, and

deception.

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      168. Defendants Chain and CEL did so with the intent to economically

benefit.

      169. Defendants Chain and CEL knew disseminating WAO2 would injure

Grams.

      170. Defendants Chain and CEL were unjustly enriched through their

misappropriation.

      171. Plaintiff sustained actual losses by the misappropriation of WAO2,

including but not limited to the decimation of its value through public dissemination.

      WHEREFORE, premises considered, Plaintiff demands judgment against

Defendants Chain and CEL for: (a) damages for his actual loss of caused by

Defendants’ misappropriation of the trade secrets; (b) damages for any unjust

enrichment caused by the misappropriation of the trade secret that is not addressed

in computing damages for actual loss; or (c) alternatively, damages caused by the

misappropriation for a reasonable royalty for Defendants’ unauthorized disclosure

or use of the trade secrets pursuant to 18 U.S.C. § 1836(b)(3)(B). Additionally,

because Defendants Chain and CEL willfully or maliciously misappropriated

numerous trade secrets, Plaintiff demands an award of exemplary damages in an

amount not more than two times the amount of actual damages pursuant to 18 U.S.C.

§ 1836(b)(3)(C) and an award of attorney’s fees pursuant to 18 U.S.C. §

1836(b)(3)(D), together with interest and costs of this action.


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                                  COUNT II
             WILLFUL AND WANTON MISAPPROPRIATION
                      PURSUANT TO 18 U.S.C. § 1836
        (Defendants Treis, Cevon, Pence, Bolick, Smith, and Lambretti)

      172. Plaintiff incorporates and realleges paragraphs 18 through 159 as if the

same were set forth fully herein.

      173. Plaintiff brings this claim against Defendants Treis and Cevon, as well

as Defendants Pence, Bolick, Smith, and Lambretti, in their individual capacities.

      174. Defendants Treis, Cevon, Pence, Bolick, Smith, and Lambretti

knowingly delivered, sent, or conveyed WAO2 to Stronghold and/or other third

parties without authorization.

      175. Plaintiff sustained actual losses by the misappropriation of WAO2

including but not limited to the decimation of its value through public dissemination.

      WHEREFORE, premises considered, Plaintiff demands judgment against

Defendants Treis, Cevon, Pence, Bolick, Smith, and Lambretti for: (a) damages for

his actual loss of caused by Defendants’ misappropriation of the trade secrets; (b)

damages for any unjust enrichment caused by the misappropriation of the trade

secret that is not addressed in computing damages for actual loss; or (c) alternatively,

damages caused by the misappropriation for a reasonable royalty for Defendants’

unauthorized disclosure or use of the trade secrets pursuant to 18 U.S.C. §

1836(b)(3)(B). Additionally, because Defendants Treis, Cevon, Pence, Bolick,

Smith, and Lambretti willfully or maliciously misappropriated numerous trade


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secrets, Plaintiff demands an award of exemplary damages in an amount not more

than two times the amount of actual damages pursuant to 18 U.S.C. § 1836(b)(3)(C)

and an award of attorney’s fees pursuant to 18 U.S.C. § 1836(b)(3)(D), together with

interest and costs of this action.

                             COUNT III
              WILLFUL AND WANTON MISAPPROPRIATION
                    PURSUANT TO 18 U.S.C. § 1836
                        (Defendant Stronghold)

      176. Plaintiff incorporates and realleges paragraphs 18 through 159 as if the

same were set forth fully herein.

      177. Plaintiff brings this claim against Defendants

      178. Plaintiff informed Stronghold that he is the owner of WAO2.

      179. Stronghold did not create WAO2 but used the code optimization to

mine cryptocurrency.

      180. Stronghold intentionally blocked Plaintiff’s Dev Fee.

      181. Stronghold refused to compensate Plaintiff.

      182. Stronghold was unjustly enriched through their misappropriation of

WAO2.

      183. Plaintiff suffered damages in the form of lost income and potential

income from his Dev Fee.

      WHEREFORE, premises considered, Plaintiff demands judgment against

Defendant Stronghold for: (a) damages for his actual loss of caused by Defendants’

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misappropriation of the trade secrets; (b) damages for any unjust enrichment caused

by the misappropriation of the trade secret that is not addressed in computing

damages for actual loss; or (c) alternatively, damages caused by the misappropriation

for a reasonable royalty for Defendants’ unauthorized disclosure or use of the trade

secrets pursuant to 18 U.S.C. § 1836(b)(3)(B). Additionally, because Defendants

Treis, Cevon, Pence, Bolick, Smith, and Lambretti willfully or maliciously

misappropriated numerous trade secrets, Plaintiff demands an award of exemplary

damages in an amount not more than two times the amount of actual damages

pursuant to 18 U.S.C. § 1836(b)(3)(C) and an award of attorney’s fees pursuant to

18 U.S.C. § 1836(b)(3)(D), together with interest and costs of this action.

                                COUNT IV
            WILLFUL AND WANTON MISAPPROPRIATION
                     PURSUANT TO 18 U.S.C. § 1836
       (Defendants Treis, Cevon, Pence, Bolick, Smith, and Lambretti)
      184. Plaintiff incorporates and realleges paragraphs 18 through 159 as if the

same were set forth fully herein.

      185. Plaintiff brings this claim against Defendants Treis and Cevon, as well

as Defendants Pence, Bolick, Smith, and Lambretti, in their individual capacities.

      186. Defendants knew Plaintiff is the owner of WAO2.

      187. Defendants did not create WAO2 but used the code optimization to

mine cryptocurrency.

      188. Defendants intentionally blocked Plaintiff’s Dev Fee.

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      189. Defendants refused to compensate Plaintiff.

      190. Defendants were unjustly enriched through their misappropriation of

WAO2.

      191. Plaintiff suffered damages in the form of lost income and potential

income from his Dev Fee.

      WHEREFORE, premises considered, Plaintiff demands judgment against

Defendant Stronghold for: (a) damages for his actual loss of caused by Defendants’

misappropriation of the trade secrets; (b) damages for any unjust enrichment caused

by the misappropriation of the trade secret that is not addressed in computing

damages for actual loss; or (c) alternatively, damages caused by the misappropriation

for a reasonable royalty for Defendants’ unauthorized disclosure or use of the trade

secrets pursuant to 18 U.S.C. § 1836(b)(3)(B). Additionally, because Defendants

Treis, Cevon, Pence, Bolick, Smith, and Lambretti willfully or maliciously

misappropriated numerous trade secrets, Plaintiff demands an award of exemplary

damages in an amount not more than two times the amount of actual damages

pursuant to 18 U.S.C. § 1836(b)(3)(C) and an award of attorney’s fees pursuant to

18 U.S.C. § 1836(b)(3)(D), together with interest and costs of this action.




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                                   COUNT V
       CONSPIRACY TO COMMIT THEFT OF TRADE SECRETS
                 IN VIOLATION OF 18 U.S.C. § 1832(A)(5)
                                (All Defendants)
      192. Plaintiff incorporates and realleges paragraphs 18 through 159 as if the

same were set forth fully herein.

      193. Plaintiff brings this claim against all Defendants.

      194. Treis and each of its Managing Directors, as owners for their personal

benefit, conspired to misappropriate WAO2.

      195. Each Managing Director, Treis, and Stronghold conspired to continue

using WAO2 in violation of Plaintiff’s ownership rights.

      196. Each Managing Director, Treis, and Stronghold conspired to block

Plaintiff’s Developer Fee.

      197. Each Managing Director, Treis, and Stronghold performed acts to

effect the object of the conspiracy.

      198. Plaintiff sustained actual losses by the misappropriation of WAO2,

including but not limited to the decimation of its value through public dissemination

and lost income and potential income from his Dev Fee.

      WHEREFORE, premises considered, Plaintiff demands judgment against

Defendant Stronghold for: (a) damages for his actual loss of caused by Defendants’

misappropriation of the trade secrets; (b) damages for any unjust enrichment caused

by the misappropriation of the trade secret that is not addressed in computing


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damages for actual loss; or (c) alternatively, damages caused by the misappropriation

for a reasonable royalty for Defendants’ unauthorized disclosure or use of the trade

secrets pursuant to 18 U.S.C. § 1836(b)(3)(B). Additionally, because Defendants

Treis, Cevon, Pence, Bolick, Smith, and Lambretti willfully or maliciously

misappropriated numerous trade secrets, Plaintiff demands an award of exemplary

damages in an amount not more than two times the amount of actual damages

pursuant to 18 U.S.C. § 1836(b)(3)(C) and an award of attorney’s fees pursuant to

18 U.S.C. § 1836(b)(3)(D), together with interest and costs of this action.

                       COUNT VI
 VIOLATION OF THE RACKETEERING AND CORRUPT PRACTICES
     ACT PURSUANT TO 18 U.S.C. 1964 AND 18 U.S.C. 1962(C)
                     (All Defendants)
      199. Plaintiff incorporates and realleges paragraphs 18 through 159 as if the

same were set forth fully herein.

      200. Plaintiff brings this claim against all Defendants.

      201. Defendants are associated as an enterprise.

      202. Defendants’ activities affect interstate and foreign commerce.

      204. Defendants have conducted their affairs through a pattern of

racketeering activity.

             a.     Defendants have misappropriated Plaintiff’s trade secrets;

             b.     All Defendants have used Plaintiff’s trade secrets without the

                    right to such use;

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             c.     Defendant Treis and its Managing Directors defrauded Plaintiff.

      205. Plaintiff suffered damages as set forth herein or otherwise.

      WHEREFORE, premises considered, Plaintiff demands judgment against all

Defendants for threefold of the damages Plaintiff has sustained, a reasonable

attorneys’ fee, and the cost of this action.

                                  COUNT VII
                             UNJUST ENRICHMENT
                                (All Defendants)
      206. Plaintiff incorporates and realleges paragraphs 18 through 159 as if the

same were set forth fully herein.

      207. Plaintiff brings this claim against all Defendants.

      208. Defendant Treis received hundreds of hours of Plaintiff’s work without

compensating him for same.

      209. Defendant Treis sold the machines enhanced by WAO2 for several

million dollars.

      210. Without Plaintiff’s code and optimization work, Treis would not have

been able to sell the machines, as they would not have functioned as the contract

required.

      211. Stronghold       deployed     Plaintiff’s   code    to   collect   substantial

cybercurrency without compensating him.

      212. There are di minimus expenses for the mining of the cryptocurrency.



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      213. Treis’s Managing Directors accordingly passed the substantial profits

directly on to themselves.

      214. All Defendants have received benefits, as stated above.

      215. All Defendants have been unjustly enriched at Plaintiff’s expense.

      216. The circumstances under which each Defendant received benefits at

      217. Plaintiff’s expense make it unjust for any Defendant to retain the

benefits without commensurate compensation.

      WHEREFORE, premises considered, Plaintiff demands judgment against all

Defendants, jointly and severally, for any and all actual and special compensatory

damages, in an amount to be determined by the jury, together with interest and the

costs of this action.

                                    COUNT VIII
                              BREACH OF CONTRACT
                             (Defendants Chain and CEL)

      218. Plaintiff incorporates and realleges paragraphs 18 through 159 as if the

same were set forth fully herein.

      219. Plaintiff brings this claim against Chain and CEL.

      220. Plaintiff, Chain, and/or CEL entered into a broker style arrangement in

they would equally share all profits from any contract Defendant procured for

Plaintitff’s WAO2.




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      221. Defendants Chain and CEL breached the agreement by retaining more

than fifty percent of all such profits.

      222. As a proximate cause of Defendants Chain and CEL’s breach, Plaintiff

suffered injuries and damages.

      WHEREFORE, premises considered, Plaintiff demands judgment against

Defendants Chain and CEL, jointly and severally, for any and all actual and special

compensatory damages in an amount to be determined by the jury, together with

interest and the costs of this action.

                                   COUNT IX
                             BREACH OF CONTRACT
                                (Defendant Treis)

      223. Plaintiff incorporates and realleges paragraphs 18 through 159 as if the

same were set forth fully herein.

      224. Plaintiff brings this claim against Chain and CEL.

      225. Defendant Treis agreed to pay Plaintiff a Dev Fee for their internal use

WAO2.

      226. Defendants agreed to protect the confidentiality of WAO2.

      227. Defendant Treis agreed not to sell any machine containing WAO2.

      228. Defendant Treis breached the agreement by: proactively blocking and

refusing pay to Plaintiff’s Dev Fee, not protecting the confidentiality of WAO2, and

selling machines containing WAO2.



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         229   As a proximate cause of Defendant Treis’s breaches, Plaintiff suffered

injuries and damages.

         WHEREFORE, premises considered, Plaintiff demands judgment against

Defendant Treis for any and all actual and special compensatory damages in an

amount to be determined by the jury, together with interest and the costs of this

action.

                                    COUNT X
                   FRAUDULENT MISREPRESENTATION
           (Defendants Treis, Cevon, CEL, Chain, Lambretti, and Pence)
         230. Plaintiff incorporates and realleges paragraphs 18 through 159 as if the

same were set forth fully herein.

         231. Plaintiff brings this claim pursuant to Ala. Code §§ 6-5-100 and 6-5-

101 against Defendants Treis, Cevon, CEL, and Chain, as well as against Defendants

Lambretti and Pence in their individual capacities.

         232. In February of 2020, Chain misrepresented to Grams that he would

share half of the profits of any deal he could strike between Grams and any third

party.

         233. Over the course of Chain’s interactions with Treis and its directors,

Chain continued to mislead Grams.

         234. Chain and CEL also allegedly misled Treis and its directors, claiming

that CEL owned WAO2.



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      235. Chain and CEL further allegedly misrepresented to Treis that Grams

was an employee, when he was not, never had been, and was not being paid anything

by Chain or CEL.

      236. When Grams heard vague references to Cevon being formed, its

membership falsely assured him that he had a to-be-defined interest in Cevon.

      237. In April of 2021, Treis and its directors misrepresented to Grams that

they would pay him his Dev Fee, would not disseminate his code, would protect his

code, and they would not sell any machine containing his code.

      238. On or about January 15, 2022, Treis, through Lambretti, misrepresented

to Grams:

            a.     That they did not know why Grams’s access was blocked;

            b.     That they would “fix” the blockage;

            c.     That Grams should keep customizing WAO2 for Treis;

            d.     Lambretti made these misrepresentations to trick Grams into

                   continuing uncompensated work for Treis when Grams

                   otherwise would not have.

      239. Grams invested a degree of trust and confidence in Treis and its

members, based on their close working relationship while he customized his source

code for them.




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      240. Grams believed he, Treis, and its membership were engaged in a joint

effort to ensure they would all collectively profit from Grams’s customization of

WAO2 for Treis’s machines.

      241. Treis’s directors knew they should have told Grams they intended to

sell machines containing WAO2 to Stronghold.

      242. Treis’s directors falsely represented to Grams that they would not sell

machines containing WAO2.

      243. Treis’s directors falsely represented to Stronghold that they owned all

code on the machines they were selling.

      245. When Grams learned of the sale, Treis’s directors falsely represented

to Grams that WAO2 had been removed from the machines prior to sale.

      246. These representations were all false.

      247. The persons making each statement knew the statements were false

when they were made, or knew they did not have enough information to confirm

their veracity, and failed to correct the statements when such facts became known.

      248. Defendants’ misrepresentations were material.

      249. Defendants made such statements with the intent that the

representations be acted upon.

      250. Defendants knew or should have known at the time that Plaintiff did

not know their statements were false.


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      251. Plaintiff justifiably relied on Defendants’ statements, particularly in

light of their long-term joint efforts.

      252. Defendants’ representations were the proximate and consequential

causes of Plaintiff’s injury.

      253. Plaintiff claims punitive damages of Defendants due to the reckless,

wanton, willful, or intentional nature of their conduct.

      WHEREFORE, premises considered, Plaintiff demands judgment against

Defendants Treis, Cevon, CEL, Chain, Lambretti, and Pence, jointly and severally,

for any and all actual and special compensatory damages and punitive damages, in

an amount to be determined by the jury, together with interest and the costs of this

action.

                                    COUNT XI
                                    SLANDER
                   (Treis, Pence, Bolick, Smith, and Lambretti)

      254. Plaintiff incorporates and realleges paragraphs 18 through 159 as if the

same were set forth fully herein.

      255. Plaintiff brings this claim against Defendants Treis and against

Defendants Bolick, Smith, and Lambretti in their individual capacities.

      256. In conversations with Stronghold throughout winter of 2022, Treis

made false claims that Grams had stolen his own code from Treis.




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      257. Treis knew and or should have known that these statements were false

because Grams created the code, they did not create the code, and they had agreed

to pay him for their own use of it.

      258. These representations damaged Grams’s reputation with Stronghold

and its representatives, agents, members, and employees.

      259. Plaintiff suffered damages thereby.

      WHEREFORE, premises considered, Plaintiff demands judgment against

Treis, Pence, Bolick, Smith, and Lambretti, jointly and severally, for any and all

actual and special compensatory damages and punitive damages, in an amount to be

determined by the jury, together with interest and the costs of this action.

                                 COUNT XII
                   TORTIOUS INTERFERENCE WITH
                BUSINESS OR CONTRACTUAL RELATIONS
                  (Treis, Pence, Bolick, Smith, and Lambretti)
      260. Plaintiff incorporates and realleges paragraphs 18 through 159 as if the

same were set forth fully herein.

      261. Plaintiff brings this claim against Defendants Treis and against

Defendants Bolick, Smith, and Lambretti in their individual capacities.

      262. Plaintiff was involved in and/or a party to various business or

contractual relationships.

      264. Plaintiff was fully aware of the existence of these business or

contractual relationships.

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       265. Through negligent, reckless and/or intentional conduct, Defendants

tortiously interfered with Plaintiff’s valid and enforceable contractual or business

relationships.

       266. The actions of Defendants were without right and/or justifiable cause.

       267. As a proximate consequence of Defendants’ unlawful interference,

Plaintiff was caused to suffer of the loss of the use and benefit of substantial sums

of money, loss of business profits and business opportunities, or other serious and

permanent injuries to be proven at trial.

       268. Plaintiff claims punitive damages of Defendants due to their reckless,

wanton, willful, or intentional conduct.

       WHEREFORE, Plaintiff demands judgment against Defendants Treis and

against Defendants Bolick, Smith, and Lambretti, jointly and severally, for all

compensatory and consequential damages allowed by law, together with interest and

costs, in an amount as determined by a trial jury, together with interest and the costs

of this action.

                                   COUNT XIII
                                 CONVERSION
                    (Treis, Pence, Bolick, Smith, and Lambretti)

       269. Plaintiff incorporates and realleges paragraphs 18 through 159 as if the

same were set forth fully herein.




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       270. Plaintiff brings this claim against Defendants Treis and against

Defendants Bolick, Smith, and Lambretti in their individual capacities.

       271. Defendants have converted property legally belonging to Counterclaim

Plaintiffs.

       272. As a result, Plaintiff has been deprived of his in the property.

       273. Defendants took and converted Plaintiff’s property to their own use in

knowing violation of Plaintiff’s rights and Alabama law, thereby causing Plaintiff to

suffer injuries and damages, including but not limited to loss of substantial sums of

money and loss of the use of those monies, for which he claims compensatory and

consequential damages.

       274. Plaintiff claims punitive damages of Defendants due to the reckless,

wanton, willful, or intentional nature of their conduct.

       WHEREFORE, Plaintiff demands judgment against all Defendants, jointly

and severally, for all compensatory and consequential damages allowed by law,

together with interest and costs, in an amount as determined by a trial jury.

       Respectfully submitted this the 4th day of May 2023.


                                        /s/ Jonathan K. Corley
                                        One of the Attorneys for Plaintiff




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                           JURY DEMAND

              PLAINTIFF DEMANDS A TRIAL BY JURY
                 AS TO ALL ISSUES SO TRIABLE.


                                 /s/ Jonathan K. Corley
                                 Jonathan K. Corley




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